    Case: 5:13-cr-00012-DCR          Doc #: 110      Filed: 05/28/15        Page: 1 of 5 - Page ID#:
                                                   319



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                      (at Lexington)

    UNITED STATES OF AMERICA,                        )
                                                     )
         Plaintiff,                                  )         Criminal Action No. 5: 13-12-DCR-02
                                                     )
    V.                                               )
                                                     )
    APRIL LEANN BOYD                                 )            MEMORANDUM OPINION
                                                     )                AND ORDER
         Defendant.                                  )
                                                     )

                                        ***    ***       ***     ***

         Defendant April Boyd is currently incarcerated at Tallahassee Federal Correction

Institution, serving a 72-month term of imprisonment for her participation in an oxycodone-

trafficking conspiracy. Proceeding pro se, Boyd has filed a motion to reduce her term of

imprisonment pursuant to 18 U.S.C. § 3582(c)(2). [Record No. 109] Boyd requests a two-

level reduction in her sentence based on recent changes to the United States Sentencing

Guidelines (“U.S.S.G.”). For the reasons discussed below, her motion will be denied.1


1
        The Court has also determined that appointment of counsel is not necessary. Further, this matter
need not be scheduled for hearing to resolve the defendant’s motion. There is no constitutional right to
counsel or to a hearing in proceedings filed under 18 U.S.C. § 3582(c)(2). United States v. Whitebird, 55
F.3d 1007 (5th Cir. 1995); United States v. Townsend, 98 F.3d 510 (9th Cir. 1996); United States v.
Webb, 565 F.3d 789 (11th Cir. 2009); and United States v. Legree, 205 F.3d 724 (4th Cir. 2000), cert.
denied, 531 U.S. 1080 (2001).

        A motion filed under 18 U.S.C. § 3582(c)(2), “is simply a vehicle through which appropriately
sentenced prisoners can urge the court to exercise leniency to give [them] the benefits of an amendment to
the U.S. Sentencing Guideline Manual. As such, it does not entitle [a prisoner] to appointed counsel.”
Townsend, 98 F.3d at 513 (citing Whitebird, 55 F.3d at 1011). Instead, the district court has discretion to
determine whether appointment of counsel is warranted. Where, as here, the record and information
possessed by the Court from the original sentencing is sufficient to consider any motion filed under 18
U.S.C. § 3582(c)(2), appointment of counsel would be unnecessary and a waste of resources.
                                                   -1-
 Case: 5:13-cr-00012-DCR         Doc #: 110     Filed: 05/28/15      Page: 2 of 5 - Page ID#:
                                              320



       On April 19, 2013, Boyd pleaded guilty to conspiring to distribute oxycodone (Count

One) in violation of 21 U.S.C. § 846 and conspiring to commit money laundering (Count

Five) in violation of 18 U.S.C § 1956(h). [Record No. 70] Pursuant to the written Plea

Agreement Boyd reached with the United States, the remaining three counts against her were

dismissed. [Record No. 104]

       At the time of entry of her guilty plea, the defendant stipulated to the following facts:

       (a)     During the dates set forth in the Indictment, in Winchester, Clark
       County, Kentucky in the Eastern District of Kentucky, the Defendant agreed
       with Leslie David Hunter, Gregory Reese James, and others to travel to
       Florida and Georgia to obtain Oxycodone pills, return to Kentucky and to
       distribute and possess with intent to distribute the pills.

       (b)    On or about September 5, and December 20, 2012, the Defendant drove
       Hunter to the Wal-Mart in Winchester, KY where he sold 40 morphine pills
       and 20 15mg Oxycodone pills to a confidential witness utilized by DEA.

       (c)    On or about August 6 and 7, 2012, in Winchester, Kentucky, the
       Defendant and Hunter sold 11 and 8, respectively, morphine pills to a
       confidential witness utilized by the Winchester Police.

       (d)   On or about October 18, 2012, in Winchester, Kentucky, the Defendant
       and Hunter sold 5 30mg Oxycodone pills to a confidential witness utilized by
       the Winchester Police.

       (e)    The pills recovered have been submitted to the Kentucky State Police
       Lab or DEA Central Lab and tested positive for or were identified as
       containing Oxycodone.

[Record No. 97, p. 2] In addition, the defendant acknowledged her participation in financial

transactions – specifically, the purchase of a 2006 Dodge Charger – using funds derived from

the drug sales. [Id.]

       Boyd’s Base Offense Level was calculated as 26 for both counts. [Presentence

Investigation Report, (“PSR”) pp. 5-6] The defendant received a two-level increase under

                                              -2-
 Case: 5:13-cr-00012-DCR         Doc #: 110     Filed: 05/28/15     Page: 3 of 5 - Page ID#:
                                              321



U.S.S.G. § 2S1.1(b)(2)(B) as a result of her money-laundering conviction under 18 U.S.C. §

1956, resulting in an Adjusted Offense Level of 28. [PSR, p. 7] Because Boyd’s conviction

for Count One is treated as an adjustment to the guideline covering Count Five, the counts

were grouped for sentencing purposes under U.S.S.G. § 3D1.2(c). [Id.] Therefore, pursuant

to U.S.S.G. § 3D1.3(a), the Adjusted Offense Level for Count Five became the controlling

offense level for both counts. Boyd also received a three-level reduction for her acceptance

of responsibility pursuant to U.S.S.G. § 3E1.1, resulting in a Total Offense Level of 25.

Combined with a Criminal History Category of III, Boyd’s non-binding guideline range was

70 to 87 months. [Id., p. 13]

       In arriving at the sentence imposed in this case, the Court carefully considered all

relevant factors of Title 18 of the United States Code, Section 3553, including, inter alia, the

serious nature of the offense, the history and characteristics of the defendant, the detrimental

impact such crimes have on the public, Boyd’s need for rehabilitation, and the need for

adequate general and specific deterrence to future criminal conduct. Ultimately, the Court

found that a term of incarceration of 72 months would meet all statutory goals and objectives

of sentencing.   [Record No. 104]      This sentence fell at the bottom of the Guidelines

sentencing range applicable to Boyd at that time.

       In considering whether a reduction is warranted under the circumstances of the case,

the Court again considers the factors under § 3553(a) and “the nature and seriousness of the

danger to any person or the community that may be posed by a reduction in defendant’s term

of imprisonment.” United States v. Curry, 606 F.3d 323, 330 (quoting USSG § 1B1.10, Cmt.

N. 1(B)(ii)). The relevant factors in Boyd’s case demonstrate that a reduction would be

                                              -3-
 Case: 5:13-cr-00012-DCR        Doc #: 110     Filed: 05/28/15     Page: 4 of 5 - Page ID#:
                                             322



inappropriate. The defendant was a participant in a very serious conspiracy to import and

distribute a large quantity of prescription pills. She participated in the conspiracy for a

lengthy period of time and helped launder her co-conspirator’s ill-gotten gains. The Court’s

interest in protecting the public and providing general deterrence weighs against a reduction

here, given the seriousness of the criminal conduct and the quantity of drugs involved.

       Boyd has a history of substance abuse since the age of 14, including alcohol,

marijuana, cocaine, Xanax, oxycodone, methadone, and morphine. [PSR, p. 11] In support

of her motion for a reduced sentence, the defendant asserts that she has completed numerous

drug and education programs during her incarceration. [Record No. 109-2] The Court

commends Boyd’s initiative in seeking treatment, but concludes that the negative statutory

factors outweigh this consideration. In addition, the defendant’s criminal history is an

important factor which must be included in the current analysis.         Before the charged

offenses, Boyd was convicted of three crimes within a fifteen-month span. [PSR, pp. 7-8]

Her record of theft by deception and attempted burglary suggest a need for specific

deterrence against potential future crimes that Boyd may be tempted to commit. Moreover,

the defendant was on conditional discharge under a criminal justice sentence in a Clark

County, Kentucky case while she committed the instant offense. This reflects disrespect for

the law and weighs against granting a reduction.

       Based on the foregoing analysis, although the defendant is eligible for the reduction

based on the amendment to the guidelines, application of the amendment is discretionary and

is not warranted under these circumstances. Accordingly, it is hereby



                                             -4-
 Case: 5:13-cr-00012-DCR      Doc #: 110     Filed: 05/28/15   Page: 5 of 5 - Page ID#:
                                           323



      ORDERED that Defendant April Boyd’s motion for a reduced sentence pursuant to

18 U.S.C. § 3582(c)(2) [Record No. 109] is DENIED.

      This 28th day of May, 2015.




                                           -5-
